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                          23-2427


                            IN THE


United States Court of Appeals
             FOR THE FEDERAL CIRCUIT

                 d
            RANGE OF MOTION PRODUCTS , LLC,

                            —v.—
                                                           Plaintiff-Appellant,


                  ARMAID COMPANY INC .,
                                                          Defendant-Appellee.


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTR ICT OF MAINE
                       JUDGE JON D. LEVY
                          1:22-CV-00091




     &255(&7('BRIEF FOR PLAINTIFF-APPELLANT




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                             PATENT CLAIM AT ISSUE

The claim of United States Design Patent No. US D802,155 S:

      The ornamental design for a body massaging apparatus, as shown and

described.

Appx37.




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                        CERTIFICATE OF INTEREST

      Counsel for the Plaintiff-Appellant, Range of Motion Products, LLC, certifies

the following:

      1. The Full Name of Party Represented by me:

      Range of Motion Products, LLC



      2. Name of Real Party in interested represented by me:

      None



      3. Parent corporations and any publicly held companies that own 10% or

         more of stock in the party:

      None



      4. The names of all law firms and the partners or associates that appeared for

         the party or amicus now represented by me in the trial court or agency or

         are expected to appear in this court (and who have not or will not enter an

         appearance in this case):

      None




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5. The title and number of any case known to counsel to be pending on this

   or any other court or agency that will directly affect or be directly affected

   by this court’s decision in the pending appeal. See Fed. Cir. R. 47.4(a)(5):

None



6. Any information required under Fed. R. App. P. 26.1(b) (organizational

   victims in criminal cases) and 26.1(c) (bankruptcy case debtors and

   trustees). See Fed. Cir. R. 47.4(a)(6):

None




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                      STATEMENT OF RELATED CASES

      No appeal in or from the same proceeding in the lower court or body was

previously before this or any other appellate court. Counsel for Range of Motion

Products, LLC knows of no other case pending in this Court or any other court that

may directly affect, or be directly affect by, this Court’s decision in this appeal.


                        JURISDICTIONAL STATEMENT

      The District Court had jurisdiction under 28 U.S.C. §§ 1331 and 1338(a) and

entered a final judgment on August 28, 2023. This timely appeal to the Federal

Circuit was filed on September 14, 2023, as required by 28 U.S.C. §2107(a). This

Court has jurisdiction under 28 U.S.C. §1295(a)(1).

                         STATEMENT OF THE ISSUES

   1. Whether the District Court erred as a matter of law by eliminating entire

      structural elements from the patented design in construing the claim.

   2. Whether the District Court erred as a matter of law by relying primarily on

      extrinsic evidence to contradict unambiguous intrinsic evidence in construing

      the claim.

   3. Whether the District Court erred in granting summary judgment of

      noninfringement as a matter of law.




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                           STATEMENT OF THE CASE

      This appeal is from a design patent infringement case filed in the District of

Maine (Levy, J.) concerning U.S. Design Patent No. D802,155, titled “Body

Massaging Apparatus.” Appx37-Appx45 (the “D’155 Patent”). The D’155 Patent

claims “the ornamental design for a body massaging apparatus” as shown in eight

(8) exemplary figures. Appx37.

      In early 2021, Plaintiff-Appellant, Range of Motion Products, LLC, a

California limited liability company (“RoM”), filed its first complaint against

Defendant-Appellee, Armaid Company Inc., a Maine Corporation (“Armaid”), for

Armaid’s unauthorized sales of a massage device called the “Armaid 2”, which RoM

believes infringes the D’155 Patent. RoM took this action to protect sales of its own

massage device product, referred to as the “Rolflex”. The Rolflex is the commercial

embodiment of the D’155 Patent.

      In 2016, Terry Cross (“Cross”), the President of Armaid, Brian Stahl

(“Stahl”), the then and current CEO of RoM, and Nic Bartolotta, a physical therapist

and mutual friend of both Cross and Stahl, formed RoM for the purpose of

developing and selling the Rolflex. Despite also being the inventor, Cross assigned

all his rights in the D’155 Patent to RoM when the application that would later

become the patent was in its infancy. At the time, Armaid was selling a massage

device, which will be referred to as the “Armaid 1” solely for clarity and conciseness.



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The Armaid 1 and most of its structural features, particularly its two massaging arms,

were functionally similar to analogous features on the Rolflex, but aesthetically

looked very different.

      In 2019, the personal and professional relationships between Cross and the

other members of RoM broke down, and Cross, without relinquishing any of his

ownership interest in RoM, began to focus his efforts on making Armaid a more

successful company. Cross decided to do this by copying the design of the Rolflex,

and, in late 2020, Armaid began selling a direct knockoff of the Rolflex’s overall

patented design, the Armaid 2.

      Later, in 2021, shortly after RoM filed its first complaint against Armaid for

design patent infringement, RoM filed a motion for a preliminary injunction, which

was denied. In the District Court’s opinion denying RoM’s request, Judge Levy

preliminarily and incorrectly construed the appearance of most of the utilitarian

features shown in the D’155 Patent as “purely functional” and thus found it unlikely

that the Armaid 2 would later be found to infringe the D’155 Patent. Range of Motion

Products LLC v. Armaid Co., 2021 WL 3476607, *7 (D. Me. 2021) (“RoM 1”). In a

second case, filed after a stipulated dismissal without prejudice of RoM 1, Judge

Levy issued an Order granting Armaid’s motion for summary judgment. Appx1-

Appx30 (the “Order”). The Order is the subject of this appeal.




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      In the Order, the District Court, again, erroneously construed most of the

structural features illustrated in the D’155 Patent as purely functional and

simultaneously found that the Armaid 2 did not infringe the ornamental appearance

of the remaining structural features illustrated in the D’155 Patent. Contrary to well-

established norms and cannons of design patent law, the District Court improperly

excluded entire structural features from the scope of the claimed design, relied

primarily on extrinsic evidence, and substituted its own judgment for that of a jury.

      Accordingly, RoM now appeals the claim construction and non-infringement

rulings in the District Court’s Order.

                        SUMMARY OF THE ARGUMENT

      RoM is appealing all aspects of the District Court’s Order related to the legal

issues of claim construction and non-infringement, decided as a matter of law.

      Regarding claim construction, RoM asserts that Judge Levy’s opinion on how

to construe the scope of the D’155 Patent is legally erroneous because it: (1)

improperly eliminates the appearance of entire structural features illustrated in the

drawings from the claimed design; (2) relies primarily on extrinsic evidence when

the intrinsic evidence is clear; and (3) as a result of these errors, it concludes that the

design contained “many functional elements” and “minimal ornamentation,” so the

“scope of the claim is accordingly narrow.” Appx21.




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      Specifically, the District Court, in its claim construction, entirely eliminates

whole aspects of the claimed design, in particular the arms of the device, in direct

opposition to Federal Circuit law. Sport Dimension, Inc. v. Coleman Co., Inc., 820

F.3d 1316, 1321 (Fed. Cir. 2016) (rejecting a district court’s claim construction

because “it eliminates whole aspects of the claimed design”). Further, the District

Court overlooks intrinsic evidence demonstrating that the arms are ornamental and

relies primarily on a self-serving affidavit generated for the purposes of litigation,

again, in direct contrast with this Court’s claim construction precedent. Phillips v.

AWH Corp., 415 F.3d 1303, 1324 (Fed. Cir. 2005) (en banc) (a court may consider

extrinsic evidence “as long as those sources are not used to contradict claim meaning

that is unambiguous in light of the intrinsic evidence.”). Accordingly, affirming the

District Court’s claim construction would be a substantial departure from the law of

Sport Dimension, Phillips, and related cases regarding functionality and claim

construction. Sport Dimension, 820 F.3d at 1321 (“…in no case did we entirely

eliminate a structural element from the claimed ornamental design…”).

      When properly construed, it is apparent that the patented and accused designs

are at least similar, if not substantially similar, and thus, summary judgment of

noninfringement was not appropriate. In fact, Judge Levy himself admits that the

overall designs “look quite similar.” Appx26. This should have been enough of a




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reason to deny Armaid’s motion outright; however, the District Court misconstrued

the scope of the D’155 Patent leading to it erroneously granting Armaid’s motion.

      Moreover, even if the claim construction decided on summary judgment were

somehow correct, there are still disputed material questions of fact that were

improperly resolved by the District Court. For example, regardless of whether the

claimed design is construed as “broad” or “narrow,” whatever those terms mean, the

D’155 Patent still claims a protectable design that must be compared to the Armaid

2 in light of the prior art. Such a comparison involves a highly fact-dependent

analysis that was supposed to be reserved for a jury in this case. However, despite

acknowledging the similarities between the appearance of the illustrations shown in

the D’155 Patent and the Armaid 2, the District Court took this role away from the

jury and decided noninfringement as a matter of law. Appx29.

      Given the multiple legal errors in the Order on both claim construction and

summary judgment, RoM respectfully requests this Court vacate both the District

Court’s claim construction determination and its summary judgment of non-

infringement. Additionally, RoM requests that this Court construe the D’155

Patent’s claim as “the appearance of the body massaging apparatus, as shown in

Figs. 1-8, excluding only the material depicted in dashed lines” and remand the case

with instructions on how a trier of fact is to apply the new construction. A total

reversal of the Order is required to prevent manifest injustice.



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                                    ARGUMENT

   I.      Standard of Review for Claim Construction

        This Court reviews the ultimate claim construction of a design patent de novo.

Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1333 (Fed. Cir. 2015).

When the district court reviews only intrinsic evidence during claim construction,

“the judge’s determination will amount solely to a determination of law, and the

Court of Appeals will review that construction de novo.” Teva Pharmaceuticals

USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015). However, any subsidiary

factual findings based on the extrinsic evidence are “reviewed for clear error on

appeal.” Teva, 135 S. Ct. at 841.

        A court can only consider extrinsic evidence “as long as those sources are not

used to contradict claim meaning that is unambiguous in light of the intrinsic

evidence.” Phillips, 415 F.3d at 1324 (en banc). In this case, the intrinsic evidence

is unambiguous, so there was no need for the District Court to turn to extrinsic

evidence. Therefore, although many subsidiary factual questions based on the

extrinsic evidence were improperly resolved by the District Court during claim

construction, the correct standard of review for this issue is de novo.




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   II.      The District Court Committed Multiple Legal Errors When

            Construing The D’155 Patent

         The District Court began its claim construction by immediately excising the

appearance of the base from the scope of the claimed design, which unduly narrowed

the scope of the claim before the differences between the patented design and the

prior art were fully appreciated. Appx18. Next, after improperly beginning the claim

construction analysis, the District Court continued to excise the appearance of whole

structural features from the scope of the claim based on a legally incorrect

application of this Court’s precedent related to separating the “functional” and

“ornamental” aspects of a claimed design. Appx18-Appx21. Finally, in reaching its

ultimate claim construction, the District Court relied primarily on extrinsic evidence

to contradict unambiguous intrinsic evidence. Appx19-Appx20.

            A. The District Court Improperly Eliminates Entire Structural

               Elements From The Claimed Design

         The District Court started its claim construction by ignoring all differences

between the appearance of the bases in the patented design and the closest prior art.

Appx18 (“disregarding distinctions among the bases, each of which serve a

functional purposes outside the scope of a design patent”). Next, after improperly

beginning its claim construction analysis, the District Court continued by primarily

relying on extrinsic evidence to determine that the appearance of most of the


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structural features for the body massaging apparatus shown in the patent drawings

are “driven by function,” and “thus, are beyond the scope of the claim in the D’155

patent.” Appx20. In reaching this erroneous conclusion, the District Court relied

solely on an expired utility patent for the prior art Armaid 1, a self-serving inventor

affidavit from Cross, Armaid’s President, and RoM’s marketing materials for the

Rolflex to excise the entire appearance of both the massaging apparatus’s arms and

base from the scope of the claimed design. Appx18-Appx20.

      Based on the foregoing, apparent misunderstandings of Federal Circuit case

law, Judge Levy determined that only “the hollowness and length of the handles, the

thick ridged outline, the precise shape of the connector pivot, and the shape of the

portion of the device where the hinge apparatus attaches to the fixed arm” constitute

the claimed design, as only these features are purportedly “largely ornamental.”

Appx21 (“given the design’s many functional elements and its minimal

ornamentation, the overall…scope of the claim is accordingly narrow”)(internal

quotations omitted). This legally incorrect claim construction removed entire

structural elements from the scope of the claimed design and, accordingly, must be

vacated. Ethicon, 796 F.3d at 1332-34 (vacating a district court’s claim construction

that unduly narrowed the scope of a design patent claim to “cover ‘nothing’”); see

also Sport Dimension, 820 F.3d at 1321.




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      As RoM will now demonstrate, Judge Levy’s excision of entire elements from

the scope of the claimed design was legally erroneous, as was his near exclusive

reliance on extrinsic evidence. See Sport Dimension., 820 F.3d at 1321 (rejecting a

district court’s claim construction because “it eliminates whole aspects of the

claimed design”); see also Phillips, 415 F.3d at 1312-19 (Fed. Cir. 2005) (explaining

that unambiguous intrinsic evidence should not be contradicted by inferior extrinsic

evidence). When properly construed, the D’155 Patent claims “the appearance of a

body massaging apparatus, as shown in Figs. 1-8, excluding only the material

depicted in dashed lines.”

          B. Federal    Circuit    Precedent     Has      Established   The    Proper

             “Functional” v. “Ornamental” Analysis For Claim Construction

      Since “a design is better represented by an illustration ‘than it could be by any

description’,” courts should not attempt to make detailed verbal descriptions of

design patents. Egyptian Goddess, 543 F.3d 665, 679-80 (Fed. Cir. 2008) (en banc).

Rather, courts should use claim construction to help “guide the finder of fact by

addressing a number of other issues that bear on the scope of the claim,” including,

but not limited to, “the role of particular conventions in design patent drafting, such

as the role of broken lines,” and “distinguishing between those features of the

claimed design that are ornamental and those that are purely functional.” Egyptian

Goddess, 543 F.3d at 680.


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      When distinguishing between the ornamental and functional features of a

claimed design, courts must understand that a design patent only protects the

appearance of a product and does not extend to “the broader general design concept”

of the functional features of the product shown in the drawings. See OddzOn

Products, Inc. v. Just Toys, Inc., 122 F.3d 1396, 1405 (Fed. Cir. 1997) (agreeing

“with the district court’s claim construction, which properly limits the scope of the

patent to its overall ornamental visual impression, rather than to the broader general

design concept of a rocket-like tossing ball”); Richardson v. Stanley Works, Inc., 597

F.3d 1288, 1293-94 (Fed. Cir. 2010) (stating that the district court “properly factored

out the functional aspects of [the claimed design],” which consisted of “several

elements that are driven purely by utility,” including, “the handle, the hammer-head,

the jaw, and the crowbar” and properly limited the scope of the claim to the

“ornamental aspects” of those utilitarian elements).

      Properly separating the “functional” and “ornamental” aspects of a claimed

design is admittedly confusing for both patent attorneys and judges alike, so, starting

from the beginning - design patents protect articles of manufacture that necessarily

have utilitarian features. To obtain a design patent, a person must “invent[] any new,

original and ornamental design for an article of manufacture.” 35 U.S.C. § 171(a).

All articles of manufacture have features that are utilitarian; it is inherent in their

nature. Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1328 (Fed. Cir.



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2015) (“Articles of manufacture necessarily serve a utilitarian purpose…”); L.A.

Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993)(“An

article of manufacture necessarily serves a utilitarian purpose…”). As aptly stated

by this Court in Avia Group International, Inc. v. L.A. Gear California, Inc.:

      A distinction exists between the [de facto] functionality of an article or
      features thereof and the [de jure] functionality of the particular design
      of such article or features that perform a function. Were that not true, it
      would not be possible to obtain a design patent on a utilitarian article
      of manufacture, or to obtain design and utility patents on the same
      article.

853 F.2d 1557, 1563 (Fed. Cir. 1988). In other words, the presence of utilitarian

features in a design cannot be a basis for invalidating or unduly narrowing the scope

of a design patent, otherwise all design patents would be invalid or excessively

narrow in scope.

      Moreover, it is evident that all utilitarian features have an associated

appearance and that particular appearance can be claimed in a design patent.

Examples abound – personal flotation devices (Sport Dimension), construction tools

(Richardson), football toys (OddzOn), and surgical devices (Ethicon) – all have

utilitarian attributes. Yet, these attributes also have an appearance, and it is only that

appearance that is protected by a design patent in which those utilitarian features are

part of the claim.




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      The overall appearance of all claimed features in a design patent – utilitarian

or not – constitute the “ornamental design,” and all claimed features must be

considered when construing the claim’s scope and determining infringement. See,

e.g., Sport Dimension, 820 F.3d at 1321 (design patent claims are construed “to assist

a finder of fact in distinguishing between functional and ornamental features. But in

no case [do] we entirely eliminate a structural element from the claimed ornamental

design, even though that element also serve[s] a functional purpose”); Ethicon, 796

F.3d at 1335 (“Where, as here, the claimed design includes several elements, the fact

finder must . . . compar[e] similarities in overall designs, not similarities of

ornamental features in isolation. An element-by-element comparison . . . is

procedural error,” citing Richardson, 597 at 1295; Crocs, Inc. v. Int’l Trade

Comm’n, 598 F.3d 1294, 1303–04 (Fed. Cir. 2010)). In other words, even if a

claimed design incorporates the appearance of purely utilitarian features, it does not

prevent a competitor from using the exact same utilitarian features, as long as the

overall appearance of the competitor’s product does not look substantially the same

as the patented design. See Egyptian Goddess, 543 F.3d at 678 (there is only

infringement if, in the eyes of the “ordinary observer,” the patented and accused

designs are “substantially the same”).

      This Court has articulated the foregoing principles by explaining that design

patents only protect a product’s ornamental appearance, not its functional or



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structural features described at a general, abstract level. See, e.g., Richardson, 597

F.3d at 1293-94; OddzOn, 122 F.3d at 1405. Moreover, this Court has taken care to

clarify that when properly “factoring out” functional features, trial courts must not

go so far as to exclude the visual impression or appearance of all features of the

claimed design that have a function in the underlying product, as this would defeat

the purpose of design patents. See Ethicon, 796 F.3d at 1328 (“the function of the

article itself [de facto] must not be confused with [the de jure] ‘functionality’ of the

design of the article”)(internal quotations omitted).

      Particularly, in Sport Dimension, this Court rejected the following claim

construction from a district court:

      The ornamental design for a personal flotation device, as shown and
      described in Figures 1–8, except the left and right armband, and the
      side torso tapering, which are functional and not ornamental.

820 F.3d at 1321. The district court’s logic in that case relied on this Court’s

guidance in OddzOn, Richardson, and Ethicon. However, this Court clarified that,

in those cases, “we construed design patent claims so as to assist a finder of fact in

distinguishing between functional and ornamental features. But in no case did we

entirely eliminate a structural element from the claimed ornamental design,

even though that element also served a functional purpose.” Id (emphasis added).

“By eliminating structural elements from the claim, the district court improperly

converted the claim scope of the design patent from one that covers the overall


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ornamentation to one that covers individual elements. Here, the district court erred

by completely removing the armbands and side torso tapering from its construction.”

Id at 1322. As discussed below, this Sport Dimension claim construction is identical

in structure to the District Court’s present claim construction, which should be

similarly vacated.

      To evaluate functionality at claim construction, this Court has recently

sanctioned district courts looking at the following factors:

      whether the protected design represents the best design; whether
      alternative designs would adversely affect the utility of the specified
      article; whether there are any concomitant utility patents; whether the
      advertising touts particular features of the design as having specific
      utility; and whether there are any elements in the design or an overall
      appearance clearly not dictated by function

Sport Dimension, 820 F.3d at 1322 (“Although we introduced these factors to assist

courts in determining whether a claimed design was dictated by function and thus

invalid, they may serve as a useful guide for claim construction functionality as

well,” citing PHG Techs., LLC v. St. John Cos., Inc., 496 F.3d 1361, 1366 (Fed. Cir.

2006)). Notably, this Court has instructed district courts to consider “the availability

of alternative designs as an important – if not dispositive – factor” in the inquiry.

Ethicon, 796 F.3d at 1329-30. In short, the aforementioned “PHG factors” may only

be considered if “the existence of alternative designs is not dispositive.” Id at 1330




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(“where the existence of alternative designs is not dispositive…the district court may

look to several other factors for its analysis”).

      While the availability of the alternative designs and/or the PHG factors may

inform the claim construction analysis, this Court has clearly stated that it is legal

error to use the PHG factors during claim construction to eliminate whole elements

of the patented article from the scope of the claimed design. Sport Dimension, 820

F.3d at 1322 (agreeing that, in light of the PHG factors, “certain elements of [the

claimed design] serve a useful purpose,” but rejecting “the district court’s ultimate

claim construction” because it “eliminated the armbands and side torso tapering

from the claim entirely, so its construction runs contrary to our law”). This is the

exact legal error committed by the District Court in the present case.

          C. The District Court Misinterpreted And Misapplied The Law

             Relating To Functionality To The Claim Construction

      In light of the foregoing, well-established principles, it is apparent that Judge

Levy’s approach when distinguishing the functional features from the ornamental

features of the D’155 Patent was incorrect. See Appx18-Appx22. The ornamental

features of the arms are substantial and not to be discounted. Starting from the

beginning - the D’155 Patent claims “[t]he ornamental design for a body massaging

apparatus,” as shown in eight (8) design illustrations, reproduced below.




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The functional or utilitarian features of the illustrated body massaging apparatus

(i.e., the Rolflex) are best described as a base connected to the bottom of a hinge

apparatus; two arms connected to the hinge apparatus, one fixed and one movable;

both arms holding massage rollers; and two handles attached to the top of the arms.

However, as a design patent, the D’155 Patent does not protect these functional

features described at such a general, structural level – that is the realm of utility

patents. Rather, the D’155 Patent only protects the “ornamental design” of these

combined utilitarian features, which is simply the overall appearance or

“ornamental design” of the massaging apparatus shown in the drawings.




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      Instead of engaging in this relatively straightforward analysis, which is clearly

required by this Court’s precedent, Judge Levy immediately turned to considering

whether the appearance of each of the individual structural features shown in the

D’155 Patent are driven by their function in order to cut various elements from the

scope of the claim. Appx19 (“Considering [the PHG factors], it is evident that many,

but not all, of the design features in the D’155 patent…are driven by function.”).

This mistaken analysis was compounded by the fact that Judge Levy began by

considering the PHG factors without analyzing whether any evidence of alternative

designs for the D’155 Patent was dispositive of the functional vs. ornamental

inquiry.1 Appx19.

      Based solely on a PHG factor analysis, Judge Levy relied primarily on an

expired utility patent for the prior art Armaid 1, a self-serving affidavit prepared

solely for the purpose of this litigation by Armaid’s President, Terry Cross, and

RoM’s marketing materials for the Rolflex, to opine that “many of the Rolflex’s

individual features have a functional purpose and, thus, are beyond the scope of the

claim in the D’155 patent.” Appx20. Judge Levy then identified “the hollowness and

length of the handles, the thick ridged outline, the precise shape of the connector

pivot, and the shape of the portion of the device where the hinge apparatus attaches



1
 RoM did point to evidence of at least one alternative design for the D’155
Patent/Rolflex, namely, the prior art Armaid 1, in its summary judgment opposition.

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to the fixed arm,” as the only “largely ornamental” features of the claimed design.

Appx21. This was improper based on, among other cases, Sport Dimension. 820

F.3d at 1322.

          D. The District Court’s Construction Does Exactly What Sport

             Dimension Says Not To Do

      Judge Levy effectively construed the claim of the D’155 Patent as follows:

      The ornamental design for a body massaging apparatus, as shown and
      described in Figs. 1–8, except the base and the two arms, which are
      functional and not ornamental.

This claim construction is identical to the claim construction that this Court rejected

in the Sport Dimension case, so affirming the District Court’s present claim

construction would be a departure from the precedent established in Sport

Dimension as well as OddzOn, Richardson, and Ethicon. It would also be the first

instance of this Court accepting a claim construction which entirely eliminates

structural elements from the scope of the claim. Id at 1321. (“…in no case did we

entirely eliminate a structural element from the claimed ornamental design…”).

      Recall that, in Sport Dimension, the district court improperly construed a

design patent claim as:

      [t]he ornamental design for a personal flotation device, as shown and
      described in Figures 1–8, except the left and right armband, and the
      side torso tapering, which are functional and not ornamental. Sport
      Dimension, 820 F.3d at 1321.


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Similar to the Judge Levy’s logic regarding the base and the two arms in the present

case, the lower court judge in Sport Dimension concluded that the “armbands and

torso tapering” served a functional purpose because: (1) the patented design

“represented the best available design for a personal flotation device”; (2) the patent

owner “filed a co-pending utility patent disclosing the design patent’s armbands and

torso tapering and touting the utility of those features”; and (3) the patent owner also

“promoted the particular utility of the armbands and tapered torso in its

advertisements.” Id at 1322. However, despite agreeing with these findings, this

Court still held that the elimination of these functional elements from “the ultimate

claim construction…runs contrary to our law.” Id.

      Thus, regardless of the results of an alternative design test or a PHG factor

analysis, the District Court here necessarily erred as a matter of law by excluding

the appearance of whole functional elements from the scope of the claimed design.2

As this Court ruled in Sport Dimension, “[h]ere, as in Ethicon, the district court’s

construction of the Design Patents to have no scope whatsoever fails to account for



2
  Notably, “[w]hether a patented design is functional or ornamental is a question of
fact.” PHG, 469 F.3d at 1365 (Fed. Cir. 2006). By unnecessarily resolving factual
questions related to the functionality of individual elements of the claimed design,
the District Court resolved material, albeit subsidiary, questions of fact about the
extrinsic evidence in favor of the movant, Armaid, on summary judgment. This is
legally erroneous. See Garcia-Garcia v. Costco Wholesale Corp., 878 F.3d 411, 417
(1st Cir. 2017) (on summary judgment the court must make all reasonable factual
inferences in favor of the nonmovant).

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the particular ornamentation of the claimed design and departs from our established

legal framework for interpreting design patent claims.” Id (citing Ethicon, 796 F.3d

at 1334) (internal quotations omitted).

          E. Relying On Extrinsic Evidence Over Intrinsic Evidence Is

             Improper

      Apart from the improper excision of whole functional elements from the scope

of the claimed design, another legal error contained in the District Court’s claim

construction ruling is its near exclusive reliance on extrinsic evidence to contradict

the plain meaning of unambiguous intrinsic evidence. This led to an incorrect finding

that the claimed arms are dictated by function. Instead, the intrinsic evidence shows

that they are primarily ornamental. In two seminal cases, Egyptian Goddess v. Swisa

and Phillips v. AWH, this Court set forth clear legal standards for construing design

patent claims and the hierarchy of evidence to be considered during claim

construction, respectively. In the present case, the District Court did not follow this

well-established precedent.

      In Egyptian Goddess, this Court held that formal claim construction is

required in design patent cases, despite the potential difficulties involved in

attempting to verbally construe drawings. Egyptian Goddess, 543 F.3d at 679. Since

“a design is better represented by an illustration than it could be by any description,”

courts should not attempt to make detailed verbal descriptions of design patents. Id


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(recognizing that “design patents are typically claimed as shown in drawings”).

Rather, trial courts should use claim construction to help “guide the finder of fact by

addressing a number of other issues that bear on the scope of the claim,” including,

but not limited to, “the role of particular conventions in design patent drafting, such

as the role of broken lines,” and “distinguishing between those features of the

claimed design that are ornamental and those that are purely functional.” Id at 680.

As previously discussed, while claim construction can distinguish ornamental and

functional features of the design as a whole, it is legal error to entirely eliminate the

appearance of individual structural components. Sport Dimension, 820 F.3d at 1322.

      Now, while claim construction is a matter of law to be decided by a judge,

there are necessarily going to be certain pieces of evidence that are more useful than

others in helping the court determine the meaning of a claim. Markman v. Westview

Instruments, Inc., 52 F.3d 967, 981 (Fed. Cir. 1995)(when “using certain extrinsic

evidence that the court finds helpful and rejecting other evidence as unhelpful…the

court is not…making factual evidentiary findings,” and thus, “[t]he district court’s

claim construction…is a matter of law subject to de novo review.”). In Phillips, this

Court explained that intrinsic evidence is superior to extrinsic evidence for helping

guide a court’s construction of a patent claim. Phillips, 415 F.3d at 1312-19.

Specifically, in a discussion of the hierarchy of evidence to be considered during

claim construction, Phillips states:



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      In addition to consulting the specification, we have held that a court
      should also consider the patent's prosecution history, if it is in
      evidence… The prosecution history, which we have designated as part
      of the intrinsic evidence, consists of the complete record of the
      proceedings before the PTO and includes the prior art cited during the
      examination of the patent.

Id at 1317 (internal citations omitted). Phillips continues to highlight that extrinsic

evidence, while permissible, is less reliable than the intrinsic record, and can suffer

from bias:

      However, while extrinsic evidence ‘can shed useful light on the relevant
      art,’ we have explained that it is less significant than the intrinsic record
      in determining ‘the legally operative meaning of claim language.’…
      [E]xtrinsic evidence consisting of expert reports and testimony is
      generated at the time of and for the purpose of litigation and thus can
      suffer from bias that is not present in intrinsic evidence.

Id at 1317-18 (internal citations omitted).

      In direct contradiction to this timeless guidance, the District Court's claim

construction relied almost exclusively on biased extrinsic evidence to conclude

functionality and then wrongly gave this evidence primacy over the specification,

drawings, and prosecution history of the D’155 Patent.3 Appx19-20. For example,

Judge Levy relied on a self-serving, affidavit prepared by Cross, the President of


3
 The District Court committed this legal error despite being informed of the primacy
of intrinsic evidence in a joint list of evidence to be considered during claim
construction, which was prepared by the parties before oral argument. Appx54-
Appx55. RoM also explicitly highlighted the importance of Phillips in a
supplemental legal briefing after oral argument.

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Armaid, to conclude that the “clamshell appearance of the arms” and the appearance

of “the inverted mushroom base” are “driven by functional considerations.” 4

Appx20. Similarly, the District Court relied on the Rolflex’s marketing materials,

which understandably highlight the device’s overall functional attributes over its

aesthetic appearance, to conclude that “many of the Rolflex’s individual features

have a functional purpose and, thus, are beyond the scope of the claim in the D’155

Patent.” Appx20. In fact, Judge Levy went so far as to deride and chastise RoM for

relying on intrinsic evidence during claim construction. Appx22 (stating “ROM has

produced few – if any – facts that aid my analysis of which design features are

functional. Instead, ROM relies largely on (1) the illustrations in the D’155

patent…”).

          F. Intrinsic Evidence Highlights Ornamental Features Of The

             Claimed Design

      As this Court will appreciate, the specification and drawings of the D’155

Patent provide unambiguous evidence for how to construe its claim. Starting with

the claim language, the D’155 Patent protects “[t]he ornamental design for a body

massaging apparatus, as shown and described.” Appx37. The patent also expressly



4
  This Court will appreciate that if the appearance of a design is “driven by functional
considerations,” it is invalid. The District Court did not understand the implications
of this language, as its claim construction eviscerates the scope of the D’155 Patent
to essentially encompass nothing.

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disclaims the appearance of the massage rollers from the scope of the claimed design

by stating that the “[d]ashed lines indicate material disclaimed from the invention

and are for purposes of illustration only.” Appx37. Finally, the D’155 Patent also

contains eight (8) drawings showing the claimed design from multiple different

angles. Appx39-Appx45. Based on the foregoing, unambiguous intrinsic evidence,

the D’155 Patent’s claim should have been construed as: “The ornamental design

for a body massaging apparatus, as shown in Figs. 1-8, excluding only the material

depicted in dashed lines.”

      Even if the specification and claim from the D’155 Patent document were

somehow unclear, other intrinsic evidence highlights the ornamentality of the design

and it was still not permissible for the District Court to immediately turn to

consideration of extrinsic evidence, like the self-serving Cross affidavit or the

Rolflex’s marketing materials. Rather, Phillips instructs turning next to the

prosecution history, which “includes the prior art cited during the examination of the

patent.” Phillips, 415 F.3d at 1317. To that end, the D’155 Patent cites as prior art

U.S. Patent No. 5,792,081 to Cross. Appx31-Appx36 (the “’081 Patent”). The

Armaid 1 was the commercial embodiment of the ‘081 Patent, and is also prior art

to the D’155 Patent. As shown in the chart below, both the drawings of the ‘081

Patent and the appearance of the Armaid 1 are intrinsic evidence that provide clear

examples of alternative designs for the D’155 Patent.



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         Prior Art                    Prior Art                  D’155 Patent
       (‘081 Patent)                  (Armaid1)                      (Fig. 3)




This is strong evidence that the appearance of the overall claimed design and its

individual features, particularly the arms, are not purely functional. L.A. Gear, Inc.

v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993) (the availability of

alternative designs is often the dispositive factor when determining non-

functionality).

      To be considered an alternative, a design “must simply provide the same or

similar functional capabilities.” Ethicon, 796 F.3d at 1330; see Rosco, Inc. v. Mirror

Lite Co., 304 F.3d 1373, 1378 (Fed. Cir. 2002) (an alternative design need not

perform exactly the same function or be exactly as effective, it simply must have

“similar functional capabilities”). Here, there is no question that one of the primary

utilitarian features shared by all products at issue in this case is the two arms, which




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may be squeezed by a patient to massage their own limbs with the attached rollers.5

RoM 1, 2021 WL at *5 (admitting that the ‘081 Patent “provides some insight into

the basic functionality of all three devices…[f]or instances, the claims in the ‘081

patent include a device comprising two arms,” and the ‘081 Patent’s description

“explains that the handles of each arm can be grabbed by the user’s free hand and

brought together.”). Moreover, when comparing the drawings of the ‘081 Patent, the

appearance of the Armaid 1, and the drawings of the D’155 Patent, it is readily

apparent that the arms could appear very different while still being capable of

performing the “same or similar function” as the Rolflex. In short, since the

appearance of the arms claimed in the D’155 Patent are not the only way to achieve

the self-controlled, leveraged massage function of the Rolflex, the claimed

ornamental design for these features necessarily serves “primarily aesthetic, non-

functional purposes.” See Ethicon, 796 F.3d at 1332.

      Instead of starting its functional v. ornamental analysis by recognizing the

clear intrinsic evidence of alternative designs for the D’155 Patent, the District Court

almost immediately turned to consideration of extrinsic evidence. While this might

have been permissible, the conclusions that the District Court reached clearly

contradict the unambiguous evidence found in the D’155 Patent and the prior art.



5
 This general functionality is described and claimed in the ‘081 Patent. Appx34-
Appx36.

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Specifically, Judge Levy relied primarily on the self-serving Cross affidavit and the

Rolflex marketing materials to determine that “many of the Rolflex’s individual

features have a functional purpose and, thus, are beyond the scope of the claim in

the D’155 patent.” Appx20.

      To be sure, Judge Levy has at least read the Sport Dimension decision and,

therefore, denies that his claim construction excludes whole functional elements

from the scope of the D’155 Patent’s claim. Appx20-Appx21 (stating “[i]n reaching

this conclusion, I do not wholly exclude functional features…”). This is merely

handwaving. Judge Levy’s opinion makes clear that he did not consider the

appearance of the base and the two arms as part of the claimed design, despite the

appearances of both utilitarian features being shown and claimed in the patent

drawings. See, e.g., Appx18 (disregarding distinctions among the three bases and

asserting, without explicit evidence, that each base “serve[s] a functional purposes

outside the scope of a design patent”); Appx26 (admitting that the D’155 Patent and

the Armaid 2 “look quite similar,” but “most of the Armaid2’s similarities to the

D’155 patent are likenesses to the latter’s functional features. These functional

features are not protected by the D’155 patent and, therefore, do not bear on the

ordinary-observer test.”).




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   III.   Standard of Review for Summary Judgment

      This Court reviews the grant of summary judgment of noninfringement under

the law of the regional circuit. Ethicon, 796 F.3d at 1315; Lexion Med., LLC v.

Northgate Techs., Inc., 641 F.3d 1352, 1358 (Fed. Cir. 2011). The First Circuit

reviews an order granting summary judgment de novo. Norton v. Rodrigues, 955

F.3d 176, 183 (1st Cir. 2020).

      A grant of summary judgment is only proper if the movant has shown “there

is no genuine dispute as to any material fact” and the movant “is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). “When passing upon a motion for

summary judgment, a district court must take the facts in the light most favorable to

the nonmoving party, drawings all reasonable inferences therefrom to that party’s

behoof.” Puerto Rico American Ins. Co. v. Rivera-Vazquez, 603 F.3d 125, 130 (1st

Cir. 2010).

      Patent infringement is a question of fact. Amgen Inc. v. Sandoz Inc., 923 F.3d

1023, 1027 (Fed. Cir. 2019); Talarico v. Marathon Shoe Co., 182 F. Supp. 2d 102,

106 (D. Me. 2002)(citing Graver Tank & Manufacturing Co. v. Linde Air Products

Co., 339 U.S. 605, 609 (1950)). To be entitled to summary judgement on the factual

question of infringement, the movant must establish that, given proper construction

of the patent, no reasonable jury could find infringement. Netword, LLC v. Centraal

Corp., 242 F.3d 1347, 1353 (Fed. Cir. 2001).



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      Particularly, in the context of design patents, this Court has only upheld

summary judgments of noninfringement when the claimed design and the

appearance of the accused product are “plainly dissimilar.” Ethicon, 796 F.3d at

1336 (affirming a district court’s grant of summary judgment of non-infringement

only because the patented and accused designs were “plainly dissimilar”). As RoM

will now demonstrate, the District Court committed legal error by summarily

deciding noninfringement as a matter of law.

   IV.   When Properly Construed, The Patented And Accused Designs Are

         Similar

      When the D’155 Patent is construed properly, a reasonable jury could

certainly return an infringement verdict at trial. Concluding that no reasonable jury

could find infringement is a high bar indeed. Amini Innovation Corp. v. Anthony

California, 439 F.3d 1365, 1371 (Fed. Cir. 2006) (“At the outset, this court perceives

again that conclusions about reasonable jurors are difficult to make on an issue of

this factual dimension.”). The sole test for determining whether a design patent has

been infringed is the “ordinary observer” test, which posits that a design patent is

infringed by any product that looks “substantially similar” to the claimed design

when viewed through the eyes of a hypothetical “ordinary observer” familiar with

the prior art. Lanard Toys Limited v. Dolgencorp LLC, 958 F.3d 1337, 1343-44 (Fed.

Cir. 2020); Egyptian Goddess, 543 F.3d at 678.



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      The “ordinary observer” is essentially the average consumer who is familiar

with the prior art or previous products on the market and, thus, can compare

similarities and differences between the patented design and the accused product in

light of this knowledge. See Lanard, 958 F.3d at 1344 (stating that the “ordinary

observer is deemed to view the differences between the patented design and the

accused product in the context of the prior art”); Egyptian Goddess, 543 F.3d at 675

(stating that the “ordinary observer” is someone who, despite not being an expert,

“is capable of assessing the similarity of the patented and accused designs in light of

the similar objects in the prior art”). Importantly, the “ordinary observer” test

requires the finder of fact to compare similarities of the overall designs in light of

the prior art, not conduct an “element-by-element comparison.” See, e.g., Lanard,

958 F.3d at 1343; Ethicon, 796 F.3d at 1335; Egyptian Goddess, 543 F.3d at 677.

      An initial comparison of the D’155 Patent and the Armaid 2 reveals striking

similarities. See Appx46 (“Infringement Contention”). The District Court admitted

as much in both its first opinion in RoM 1 and the Order. RoM 1, 2021 WL at *8

(stating “[t]here is no doubt that…the silhouettes and basic visual impressions of the

D155 patent and the Armaid2 are similar”); Appx26 (“The D’155 patent and the

Armaid 2 share a broad design concept and at a conceptual level they look quite

similar”). A further comparison of the designs at multiple angles reveals that these

designs are substantially similar, if not outright identical, depending on the viewing



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angle. See Appx50-Appx52 (“Claim Chart”). However, the “ordinary observer” test

ultimately requires a comparison of the patented and accused designs in the context

of the prior art. Therefore, what follows is a chart comparing the D’155 Patent to the

Armaid 2 in light of the closest prior art produced throughout this litigation, the

Armaid 1.6

    Closest Prior Art             D’155 Patent                      Armaid2
       (Armaid1)                     (Fig. 3)                      (Side View)




       Pursuant to this Court’s precedent, the ordinary observer will place more

emphasis on the features of the D’155 Patent that are different in the Armaid 1.

Egyptian Goddess, 543 F.3d at 676 (stating “[w]hen the differences between the

claimed and accused design are viewed in light of the prior art, the attention of the


6
  To be sure, Armaid produced evidence of several other leveraged self-massage
devices that were on the market before the Rolflex. However, a comparison between
the D’155 Patent and the Armaid 2 in light of these references would only emphasize
that the “ordinary observer” will not be very discerning – all of these products look
completely different than the Rolflex, despite having similar leveraged, self-
massaging functions.

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hypothetical ordinary observer will be drawn to those aspects of the claimed design

that differ from the prior art.”) (emphasis added). Here, the primary differences

between the D’155 Patent and the Armaid 1 are the particular shape of the two arms

and the base.7 The hinge apparatus, which is connected to the top of the base, and

the portion of the fixed arm that connects to the hinge apparatus is very similar in

both the D’155 Patent and the Armaid 1, so the ordinary observer will not be very

discerning with regard to these particular features.

      Now, comparing the features of the D’155 Patent that will stand out to the

ordinary observer to the appearance of analogous features in the Armaid 2 – the two

arms are identical, and the bases are slightly different. Whether or not the slight

difference in the shape of the bases will be enough to prevent consumers from

purchasing the Armaid 2 believing it to have the patented design is a material

question of fact that should not have been resolved in Armaid’s favor on summary

judgment. If anything, the bases of the D’155 Patent and the Armaid 2 form only a

small percentage of the overall designs, with the identical arms forming a much more

significant portion of both designs.

      When viewing this evidence in a light most favorable to RoM, the overall

designs of the D’155 Patent and the Armaid 2 are substantially similar. Accordingly,


7
  The massage rollers also appear different; however, these are disclaimed in the
D’155 Patent, so any similarities or differences between the three designs regarding
these features are irrelevant to the infringement analysis.

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summary judgment of noninfringement was improper. See Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 243 (1986) (summary judgment should not be granted

unless the factual questions are “so one-sided that one party must prevail as a matter

of law”).

   V.       Even If Improperly Construed, The Patented And Accused Designs

            Are Similar

        At several points, the District Court has acknowledged the overall similarities

between the D’155 Patent and the appearance of the Armaid 2. See, e.g., RoM 1,

2021 WL at *8 (stating “[t]here is no doubt that…the silhouettes and basic visual

impressions of the D155 patent and the Armaid2 are similar”); Appx26 (admitting

that the D’155 Patent and the Armaid 2 “look quite similar”). This alone should have

been enough reason for RoM’s case to survive summary judgment; however, Judge

Levy improperly construed the scope of the D’155 Patent to entirely exclude the

base and the two arms from the scope of the claim, and so concluded that the Armaid

2 was not infringing. Appx26 (“These functional features are not protected by the

D’155 patent and, therefore, do not bear on the ordinary-observer test.”).

        Even if we suspend reality and assume arguendo that the District Court

perfectly construed the D’155 Patent, summary judgment of noninfringement is still

not appropriate. First off, it is hard to even determine what the District Court’s

construction is, let alone how to apply it. As best understood, the District Court's



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construction for the patent is simply “narrow,” whatever that means. Appx21 (“the

overall…scope of the claim is accordingly narrow.”) (emphasis added). This

construction doesn’t provide any useful guidance for a judge sitting as a finder of

fact, let alone for a jury.

       To be sure, the District Court’s construction does identify specific features of

the D’155 Patent that “appear to be largely ornamental.” Appx21. These include the

following:

       the hollowness and length of the handles, the thick ridged outline, the
       precise shape of the connector pivot, and the shape of the portion of the
       device where the hinge apparatus attaches to the fixed arm.

Appx21. Therefore, according to the District Court’s position, the D’155 Patent at

least claims the combined appearance of the foregoing features, which may be

compared to analogous features in the Armaid 1 and Armaid 2 using the chart below.

The “largely ornamental” features identified by the District Court are circled in red,

for convenience.




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 Closest Prior Art               D’155 Patent                      Armaid2
     (Armaid1)                      (Fig. 3)                     (Side View)




      Proceeding with the proper test for infringement, the ordinary observer will

place more emphasis on the features of the D’155 Patent that are different in the

Armaid 1. Under this hypothetical construction, the primary differences between the

D’155 Patent and the Armaid 1 are simply the particular shape and the thick ridged

outline of the handles. The shape of the portion of the device where the hinge

apparatus attaches to the fixed arm and the precise shape of the connector pivot are

practically identical in both the D’155 Patent and the Armaid 1, so the ordinary

observer will not be very discerning with regard to these particular features.

      Next, comparing the features of the D’155 Patent that will stand out to the

ordinary observer to the appearance of analogous features in the Armaid 2 – the

particular shape and the thick ridged outline of the handles are identical in the both




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designs.8 While the connection between the fixed arm and the hinge apparatus and

the shape of the connector pivot are slightly different in the D’155 Patent and the

Armaid 2, the ordinary observer will not be very discerning in regard to these

particular features, and, instead, will focus primarily on the handles. Therefore,

whether or not the slight differences between the designs will prevent a consumer

from purchasing the Armaid 2 believing it to be the Rolflex is a material question of

fact that should not have been resolved in Armaid’s favor on summary judgment. If

anything, the handles are identical, and, at least to the ordinary observer, the other

claimed features are only slightly different, so the designs may even be substantially

similar.

      When viewing this hypothetical scenario in a light most favorable to RoM,

the claimed design of the D’155 Patent and the appearance of analogous features on

the Armaid 2 are similar, if not substantially so. Accordingly, even under the

incorrect construction, summary judgment of noninfringement was still improper.




8
 The “thick ridged outline” on the handles of the D’155 Patent and Armaid 2 can
best be seen in RoM’s claim chart comparing the two designs. Appx50-Appx52.

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                   CONCLUSION AND RELIEF SOUGHT

      Based at least on the foregoing, RoM respectfully requests that this Court

vacate the District Court’s claim construction ruling and construe the D’155 Patent’s

claim as “the appearance of the body massaging apparatus, as shown in Figs. 1-8,

excluding only the material depicted in dashed lines.” RoM also asks this Court to

reverse the District Court’s summary judgment of noninfringement and remand the

case with instructions on how a finder of fact is to apply the proper claim

construction.

                                                    Respectfully submitted,

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Dated: November 27, 2023                            Attorneys for Appellant




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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

RANGE OF MOTION                       )
PRODUCTS LLC,                         )
                                      )
      Plaintiff,                      )
                                      )
                   v.                 )       No. 1:22-cv-00091-JDL
                                      )
THE ARMAID COMPANY INC.,              )
                                      )
      Defendant.                      )


    ORDER ON DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Plaintiff Range of Motion Products, LLC (“ROM”), alleges that the Defendant,

The Armaid Company Inc. (“Armaid”), markets and sells a body massaging product

that infringes a design patent that ROM owns (ECF No. 1). This dispute is before me

for the second time; in an earlier case, Range of Motion Products LLC v. Armaid Co.

Inc. (“Range of Motion I”), No. 1:21-cv-00105-JDL, 2021 WL 3476607 (D. Me. Aug. 6,

2021), I denied ROM’s request for a preliminary injunction which would have

enjoined Armaid from marketing and selling the Armaid2, the accused product.

Afterwards, the parties stipulated to the dismissal of Range of Motion I without

prejudice.

      ROM has filed a new Complaint raising infringement claims similar to those

it alleged in Range of Motion I (ECF No. 1).     Armaid now moves for summary

judgment (ECF No. 42). For the reasons explained below, I grant Armaid’s Motion

for Summary Judgment.




                                          1




                                    Appx1
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                                        I. BACKGROUND

A.       Factual Background 1

         Terry Cross, the Armaid Company’s late owner, was a sports and occupational

injury therapist who created a limb massaging apparatus, the Armaid1, in 1995.

Cross designed the Armaid1 to relieve stress and muscle tightness in the arms. In

1998, Cross was awarded a utility patent (the “’081 patent”), 2 which was embodied in

the Armaid1. The ’081 patent—which has expired and is not at issue in this case—

was summarized as “relat[ing] to body massaging devices and more particularly to

devices adapted for the treatment of wrists and arms affected by carpal tunnel

syndrome.” ECF No. 43 at 2, ¶ 3 (alteration in original). Among the claims in the

’081 patent is one for “a device comprising two arms, one of which is ‘hingedly

attach[ed]’ to the other, with massaging members on each arm, and with arms that

‘are shaped and dimensioned to adjustably clamp a limb between [the] . . . massaging

members.’” ECF No. 43 at 3, ¶ 6 (alterations in original) (quoting ECF No. 43-4 at 4).

The description in the ’081 patent analogizes the hinge assembly to hinges used in

adjustable pliers and notes that users can grab and hold together the device’s handles

with their free hand.




  1 The parties stipulated that the summary judgment record would consist of the record from (1) this

case, (2) Range of Motion I, and (3) related litigation in California state court between Stahl and Cross’s
Estate. See ECF No. 37 at 2, ¶ 3 (Court’s report memorializing this stipulation).

 2   See U.S. Patent No. 5,792,081.
                                                    2




                                               Appx2
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               Image 1 - Side-by-side comparison of the ’081 Patent and the Armaid1

       In 2015, Cross adapted the Armaid1 to create a device that massaged the entire

body. Cross’s adaptations included: (1) opening the end of the hinge apparatus to

permit the therapy arm to be detached from the device; (2) molding the oval connector

pivot directly into the end of the detachable therapy arm; (3) changing the base to be

shaped like an inverted mushroom that would be stable wherever a user placed it on

their body; and (4) increasing the curve of the arms to accommodate larger rollers as

well as the user’s legs. 3 The adapted device was ultimately known as the “Rolflex.”

ECF No. 43 at 4, ¶ 8.




  3 In general, I have adopted terms used in Armaid’s uncontroverted statements of fact when

describing the individual component parts of the various devices and patent illustrations central to
this dispute. See e.g., ECF No. 43 at 3-5, ¶¶ 9-11; 9-11, ¶¶ 27-28 and 32.

                                                 3




                                           Appx3
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                                    Image 2 - The original Rolflex

       In 2015, Cross filed two provisional applications for possible utility patents

covering the functional features of the Rolflex. 4 Neither application, which “described

the invention embodied in the Rolflex in utilitarian terms,” was approved. ECF No.

43 at 5, ¶ 14.

       In 2016, Cross, Nic Bartolotta, Brian Stahl, and an entity controlled by Stahl,

formed ROM as a California limited liability corporation to sell the Rolflex. Near that

time, ROM’s patent attorney filed an application 5 on behalf of ROM for a design

patent that eventually resulted in the patent at issue in this case: U.S. Patent No.

D802,155 S (the “D’155 patent”).




  4 I use the terms “feature” and “element” interchangeably throughout this order as shorthand for a

component part of the devices and patent illustrations relevant to the infringement claim, as both
terms are used to that effect in the caselaw underlying my analysis. Relatedly, I use the term “aspect”
to indicate the functional or ornament quality of a given feature/element.

 5  Cross signed the application as the inventor and assigned his interest in the application to ROM
on the same day.
                                                  4




                                             Appx4
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                                  Image 3 - D’155 Patent

      The D’155 patent claims “[t]he ornamental design for a body massaging

apparatus,” as shown in eight illustrations (excepting material depicted by dashed

lines). ECF No. 43 at 1, ¶ 1 (alteration in original); see infra Part II(B)(1)(c) (D’155

patent illustrations). The Rolflex “embod[ies] the design of the D’155 [p]atent,” a

point that ROM conceded in Range of Motion I. No. 1:21-cv-00105-JDL, ECF No. 8

at 10. ROM applied for a utility patent for the Rolflex, but this patent did not issue

in part because it was deemed “obvious” in light of the ’081 patent.

      Later, after a falling-out with the other members of ROM, Cross concentrated

his efforts on his Maine-based company, Armaid, and created the Armaid2, the

accused product.




                                            5




                                       Appx5
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                                 Image 4 - The Armaid2

      The parties dispute the inspiration for Cross’s development of the Armaid2.

ROM contends that “Cross either came up with the Armaid2’s design in light of the

Rolflex or directly used the specifications for the molds of the Rolflex to create the

Armaid2.” ECF No. 47 at 4, ¶ 23. Armaid contends that the Armaid2 resulted from

changes Cross made to the Armaid1 to improve its functionality based on customer

feedback. The parties also dispute whether changes to the function or the form drove

the Armaid2’s development.

      On June 1, 2021, Cross was awarded a utility patent (the “’310 patent”) that

protected at least one feature of the Armaid2 not present in the Rolflex. In the

application for the ’310 patent, Cross identified the invention as filling a need for a

simple and effective self-operated body massaging apparatus that could be used from

multiple angles without the risk of inflicting undue pain.

      In late 2021, Cross died in an accident.




                                          6




                                      Appx6
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B.     Procedural History

       1. Range of Motion I Litigation

       ROM filed a Complaint in Range of Motion I on April 12, 2021, alleging that

Armaid’s manufacture and sale of the Armaid2 infringed the D’155 patent (No.

1:21-cv-00105-JDL, ECF No. 1). ROM later moved for a preliminary injunction (No.

1:21-cv-00105-JDL, ECF No. 8). After a hearing on the motion, I issued an Order

denying ROM’s request for a preliminary injunction because ROM had failed to show

either a likelihood of success on the merits or that it had suffered an irreparable

injury (No. 1:21-cv-00105-JDL, ECF No. 32).      See Range of Motion I, 2021 WL

3476607, at *13. Subsequently, the parties stipulated to dismiss the action without

prejudice, which ended the Range of Motion I litigation (No. 1:21-cv-00105, ECF No.

34).

       2. Current Case

       ROM filed its current Complaint with this Court on April 8, 2022. (ECF No. 1).

The Complaint does not differ meaningfully from the previous Complaint ROM filed

in Range of Motion I. The current Complaint requests: (1) a declaration that Armaid

infringed the D’155 patent, (2) preliminary and permanent injunctions, (3) treble

damages for willful misuse pursuant to 35 U.S.C.A. § 284 (West 2023), and (4)

attorney fees. Armaid filed an Answer denying liability and raising several

affirmative defenses (ECF No. 13).

       On November 28, 2022, Armaid filed a Motion for Summary Judgment and

Statement of Material Facts (ECF Nos. 42, 43). The Statement of Material Facts

includes ROM’s infringement contentions (ECF No. 43-14) and claims chart (ECF No.
                                          7




                                     Appx7
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43-15) as attachments. ROM responded in opposition on January 11, 2023 (ECF No.

46), and Armaid replied on January 22, 2023 (ECF No. 48). ROM was granted

permission to file and, in fact, filed a Surreply (ECF Nos. 54, 56).

       On January 31, 2023, the parties filed a chart delineating their respective

constructions of the claims in the D’155 patent (ECF No. 52). They also filed briefs

on various claim construction issues thereafter (ECF Nos. 57-60). 6 The parties

disagreed about the need for a separate claim construction hearing on those issues:

ROM favoring a limited hearing with arguments but no testimony, and Armaid

altogether opposing a hearing because the D’155 patent’s text and illustrations speak

for themselves and, at any, rate, had already been analyzed in Range of Motion I. On

March 30, 2023, I entered an Order noting that I would “discuss with counsel the

need for the scheduling of a formal claim[] construction hearing at the hearing on the

Motion for Summary Judgment scheduled April 26, 2023.” ECF No. 62.

       I heard oral argument on the Motion for Summary Judgment on April 26, 2023

(ECF No. 64), during which the parties also shared their respective views on the need

for a separate hearing on claim construction.

                                    II. LEGAL ANALYSIS

A.     Summary Judgment Standard

       “A grant of summary judgment is appropriate when ‘there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of



  6 After Armaid (ECF No. 16) and ROM (ECF No. 23) requested alternatives to the original

scheduling order (ECF No. 14), Magistrate Judge John C. Nivison amended the order to give the
parties time to file claim construction briefs and, if requested and deemed necessary, for the Court to
hold a hearing on the same (ECF No. 33).
                                                     8




                                             Appx8
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law.’” Garcia-Garcia v. Costco Wholesale Corp., 878 F.3d 411, 417 (1st Cir. 2017)

(quoting Ameen v. Amphenol Printed Circuits, Inc., 777 F.3d 63, 68 (1st Cir. 2015)).

“A genuine issue of fact exists where ‘the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.’” Id. (quoting Taylor v. Am. Chemistry

Council, 576 F.3d 16, 24 (1st Cir. 2009)); see also Feliciano-Muñoz v. Rebarber-Ocasio,

970 F.3d 53, 62 (1st Cir. 2020) (“‘An issue is “genuine” if it can “be resolved in favor

of either party,” and a fact is “material” if it “has the potential of affecting the outcome

of the case.”’” (quoting Tang v. Citizens Bank, N.A., 821 F.3d 206, 215 (1st Cir. 2016))).

To be entitled to summary judgment, the moving party “must ‘affirmatively produce

evidence that negates an essential element of the non-moving party’s claim,’ or using

‘evidentiary materials already on file . . . demonstrate that the non-moving party will

be unable to carry its burden of persuasion at trial.’”             Ocasio-Hernández v.

Fortuño-Burset, 777 F.3d 1, 4-5 (1st Cir. 2015) (alteration in original) (quoting

Carmona v. Toledo, 215 F.3d 124, 132 (1st Cir. 2000)). “The court must examine ‘the

record in the light most favorable to the nonmovant’ and must make ‘all reasonable

inferences in that party’s favor.’” Garcia-Garcia, 878 F.3d at 417 (quoting Ameen,

777 F.3d at 68). However, the court “‘must ignore conclusory allegations, improbable

inferences, and unsupported speculation.’” Id. (quoting Taylor, 576 F.3d at 24).

B.     Design Patent Infringement Claim

       Armaid seeks summary judgment on ROM’s claim that Armaid infringed the

D’155 design patent by marketing and selling the Armaid2. Under 35 U.S.C.A. § 171

(West 2023), “[w]hoever invents any new, original and ornamental design for an

article of manufacture may obtain a patent therefor, subject to the conditions and
                                             9




                                        Appx9
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requirements of this title.” Design patents protect only the “ornamental design of the

article”—they “do not and cannot include claims to the structural or functional

aspects of the article.” Lee v. Dayton-Hudson Corp., 838 F.2d 1186, 1188 (Fed. Cir.

1988); see also KeyStone Retaining Wall Sys., Inc. v. Westrock, Inc., 997 F.2d 1444,

1450 (Fed. Cir. 1993) (“A design patent protects the non-functional aspects of an

ornamental design as shown in a patent.”).

         In patent infringement cases, “[s]ummary judgment is appropriate when it is

apparent that only one conclusion as to infringement can be reached by a reasonable

jury.”    TechSearch, L.L.C. v. Intel Corp., 286 F.3d 1360, 1369 (Fed. Cir. 2002).

“Summary judgment of noninfringement is also appropriate where the patent owner’s

proof is deficient in meeting an essential part of the legal standard for infringement,

because such failure will render all other facts immaterial.” Id.

         Resolving a design patent infringement claim involves a two-step inquiry.

“Determining whether a design patent claim has been infringed requires, first, as

with utility patents, that the claim be properly construed to determine its meaning

and scope. Second, the claim as properly construed must be compared to the accused

design to determine whether there has been infringement.”              Elmer v. ICC

Fabricating, Inc., 67 F.3d 1571, 1577 (Fed. Cir. 1995) (citation omitted). The second

step is known as the “ordinary observer” test. Id. Under this test, “infringement is

found ‘[i]f, in the eye of an ordinary observer, giving such attention as a purchaser

usually gives, two designs are substantially the same, if the resemblance is such as

to deceive such an observer, inducing him to purchase one supposing it to be the

other.’” Lanard Toys Ltd. v. Dolgencorp LLC (“Lanard Toys II”), 958 F.3d 1337, 1341
                                          10




                                     Appx10
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(Fed. Cir. 2020) (alteration in original) (quoting Egyptian Goddess, Inc. v. Swisa, Inc.,

543 F.3d 665, 670 (Fed. Cir. 2008) (en banc)).

      1. Claim Construction

              (a) Applicable Legal Standards

      “[T]he claims of a patent define the invention to which the patentee is entitled

the right to exclude.” Copan Italia S.p.A. v. Puritan Med. Prods. Co. LLC, No.

1:18-cv-00218-JDL, 2019 WL 5699078, at *1 (D. Me. Nov. 4, 2019) (alteration in

original) (quoting Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005)). “The

construction of patent claims is a question of law which is ‘exclusively within the

province of the court.’” Id. (quoting Markman v. Westview Instruments, Inc., 517 U.S.

370, 372, 384 (1996)). Trial courts have a “duty” to undertake claim construction in

design patent cases. Egyptian Goddess, 543 F.3d at 679.

      Design patents “‘typically are claimed as shown in drawings.’” Id. (quoting

Arminak & Assocs., Inc. v. Saint-Gobain Calmar, Inc., 501 F.3d 1314, 1319 (Fed. Cir.

2007)).    “In construing a design patent claim, the scope of the claimed design

encompasses, ‘its visual appearance as a whole,’ and, in particular ‘the visual

impression it creates.’” Lanard Toys, Ltd. v. Toys “R” Us-Delaware, Inc. (“Lanard

Toys I”), No. 3:15-cv-849-J-34PDB, 2019 WL 1304290, at *11 (M.D. Fla. Mar. 21,

2019) (quoting Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d 1370, 1376 (Fed.

Cir. 2002), abrogated on other grounds by Egyptian Goddess, 543 F.3d 665).

      Trial courts are not required to provide a detailed verbal description of the

claimed design. Egyptian Goddess, 543 F.3d at 679. Still, “a court may find it helpful

to point out, either for a jury or in the case of a bench trial by way of describing the
                                           11




                                      Appx11
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court’s own analysis, various features of the claimed design as they relate to the

accused design and the prior art.” Id. at 680. And a trial court can “address[] a

number of other issues that bear on the scope of the claim” including: (1) “describing

the role of particular conventions in design patent drafting, such as the role of broken

lines;” and (2) “assessing and describing the effect of any representations that may

have been made in the course of the prosecution history;” and (3) “distinguishing

between those features of the claimed design that are ornamental and those that are

purely functional.” Id. (citations omitted); see also Ethicon Endo-Surgery, Inc. v.

Covidien, Inc., 796 F.3d 1312, 1333 (Fed. Cir. 2015) (“[T]here are a number of claim

scope issues which may benefit from verbal or written guidance, among them the

distinction between features of the claimed design that are ornamental and those that

are purely functional.”).

      Distinguishing between functional and non-functional features of the claimed

design is particularly illuminating. “Where a design contains both functional and

non-functional elements, the scope of the claim must be construed in order to identify

the non-functional aspects of the design as shown in the patent.” Sport Dimension,

Inc. v. Coleman Co. Inc., 820 F.3d 1316, 1320 (Fed. Cir. 2016) (quoting OddzOn

Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1405 (Fed. Cir. 1997)). But a court

should not “entirely eliminate a structural element from the claimed ornamental

design, even though that element also served a functional purpose.” Id. at 1321. The

mere fact that a component of a product has a function does not mean that the

component was designed solely based on functional considerations. See Lifted Ltd.,

LLC v. Novelty Inc., No. 16-cv-03135-PAB-GPG, 2020 WL 2747814, at *3 (D. Colo.
                                          12




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May 27, 2020) (acknowledging the distinction between “the functionality of the

various components . . . and the functionality of the particular way those components

are designed”).

             (b) Need for a Separate Claim Construction Hearing

      Before construing the D’155 patent, I address the threshold question of

whether a separate claim construction hearing is needed.               ROM argues that a

separate hearing is necessary because claim construction involves legal and factual

issues distinct from those relevant to deciding the underlying infringement claim. At

the April 26, 2023, hearing, however, ROM acknowledged that the Court already had

a “complete statement of the evidence that [it] should consider in deciding the claim

construction” before it. Tr. at 24:1-5

      Whether to hold a separate claim construction hearing is a decision within the

Court’s discretion. See Ballard Med. Prods. v. Allegiance Healthcare Corp., 268 F.3d

1352, 1358 (Fed. Cir. 2001) (holding that district courts “need not follow any

particular procedure in conducting claim construction”); see also Revlon Consumer

Prods. Corp. v. Estee Lauder Cos., Inc., No. 00 Civ. 5960 RMB AJP, 2003 WL

21751833,    at   *14    (S.D.N.Y.       July        30,   2003)   (recommended   decision)

(“Nothing . . . mandates the use of a [claim construction] hearing in every patent

case.”). Under the circumstances of this case, I conclude that a claim construction

hearing is unnecessary for several reasons.




                                                13




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        First, as ROM conceded at oral argument, there is sufficient record evidence

for me to construe the claim in the D’155 patent. 7 The parties submitted a claim

construction chart with cited evidence that, as ROM acknowledges, I am entitled to

rely upon. Indeed, in its request for a claim construction hearing, ROM notes that it

would not seek to present testimony at the hearing. ECF No. 61 at 1. Second, the

parties have had a full opportunity to brief claim construction in this case and discuss

the issue at oral argument; more argument on the same evidence would not be

helpful. Third, to the extent that ROM wishes to provide expert witness testimony

at that hearing—as indicated in the parties’ claims construction chart, albeit

inconsistently with ROM’s request for a limited hearing—the deadline to designate

expert witnesses has long passed. Finally, I already had the benefit of an initial

exchange of claim construction briefs in Range of Motion I, and the factual record

here is nearly identical to the one in that case, with the addition of only a few

documents. 8

        ROM’s arguments to the contrary are not persuasive. ROM contends that

claim construction in this instance presents a different legal posture than in Range

of Motion I and, therefore, would benefit from additional argument.                        But ROM




 7 In any event, the record that could be created at such a claim construction hearing is likely limited

by Cross’s untimely death.

  8 As the parties acknowledge, I am not bound at the summary judgment stage by the claim

construction that I conducted when ruling on ROM’s Motion for a Preliminary Injunction in Range of
Motion I. See Outside the Box Innovations, LLC v. Travel Caddy, Inc., 695 F.3d 1285, 1302 (Fed. Cir.
2012) (“[T]he general rule is that tentative claim construction for preliminary injunction purposes does
not remove the issue from later review after the facts are elaborated . . . .”). The Federal Circuit has
implied that, under some circumstances, an initial claim construction can constitute binding “law of
the case,” see id. at 1301-02, but neither party raises that issue, so I decline to discuss it further.

                                                  14




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already raised claim construction arguments in its briefs and at the summary

judgment hearing. And ROM’s prior indications that additional evidence bearing on

claim construction could be submitted at such a hearing are at odds with the narrow

scope of the hearing it is actually requesting. As noted, ROM expressly represented

that I could rely on the existing evidence in the record to construe the claim in the

D’155 patent. Moreover, ROM has failed to detail any additional evidence that would

assist the Court with claim construction, or why ROM failed to include that evidence

in the summary judgment record. 9

        Accordingly, because a hearing is discretionary and the record before the Court

provides a sufficient basis to construe the design claimed in the D’155 patent, I deny

ROM’s request for a separate claim construction hearing.




  9 For example, ROM suggested at oral argument for the first time that it could adduce (1) the

testimony of Bartolotta and (2) an email and photograph supporting their contention that Cross
designed the Armaid2 from the molds used for the Rolflex. With respect to the latter, ROM did not
explain how this evidence can help to elucidate the scope of the D’155 patent or which design features
of the D’155 patent are driven by functional considerations.

    Subsequent to the hearing, ROM filed a Motion for Leave to File Additional Evidence (ECF No.
65), wherein it sought to supplement the summary judgment record to include the email and
photograph as additional support for denying Armaid’s assertion that Cross modified the Armaid1 to
create the Armaid2. ROM’s motion argued that the additional evidence was relevant to the issue of
whether Cross designed the Armaid2 based on the Armaid1 or the Rolflex:

        At the time of filing its opposition, RoM believed and still maintains that this denial is
        sufficient to create a dispute of material fact sufficient to survive a motion for summary
        judgment. However, to the extent that the Court believes this critically disputed fact
        is not properly supported by the evidence of record, RoM respectfully requests the
        opportunity to provide a single piece of additional evidence in support of Mr. Stahl’s
        statements under Fed. R. Civ. P. Rule 56(e).

    ROM’s motion did not suggest that the additional evidence was submitted for purposes of claim
construction. I denied ROM’s motion because “ROM ha[d] previously supported its denial of the fact
in dispute” by citing to the affidavit from Stahl. ECF No. 73 at 2. I did not decide whether the product
Cross used as a starting point for developing the Armaid2 was material to the disposition of Armaid’s
Motion for Summary Judgment.
                                                    15




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              (c) Construing the Claim in the D’155 Patent

      The D’155 patent is entitled “Body Massaging Apparatus” and recites a claim

for “[t]he ornamental design for a body massaging apparatus, as shown and

described.”   ECF No. 52-1 at 2.     The patent includes eight design illustrations,

reproduced below, representing the apparatus as viewed from several perspectives.




                     Images 5-12 - D’155 Patent Design Illustrations




                                           16




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The portions of the illustrations depicted in dashed lines—i.e., the massage rollers—

are expressly disclaimed from the scope of the patent, so they do not contribute to its

scope.

         Considering the Federal Circuit’s instructions in construing design patents, see

Egyptian Goddess, 543 F.3d at 679-80, as well as the maxim that a picture is worth

a thousand words, I rely on these design illustrations and do not write a detailed,

feature-by-feature description to define the scope of the claimed design. I proceed by

first comparing various features of the claimed design, the accused design, and the

prior art,     and later by addressing the             functional-vs-ornamental analysis

contemplated by Egyptian Goddess.

                      (i)    Comparing the Claimed Design, Accused Design,
                             and Prior Art




     Image 13 - Side-by-side comparison of the D’155 Patent, the Armaid2, and the Armaid1.

         Several similarities among the designs of the D’155 patent (the claimed

design), the accused product (the Armaid2), and the only potentially limiting prior


                                              17




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art (the Armaid1) bear noting. As apparent from the side-by-side comparison above

the D’155 patent is broadly similar to the Armaid1: both have opposable, curved arms,

roller cutouts and handles, with the arms attached to a hinge apparatus with multiple

slots for size adjustment.    But the three designs also vary considerably—most

noticeably in the arms (disregarding distinctions among the bases, each of which

serve functional purposes outside the scope of a design patent). The arms in the D’155

patent and Armaid2 curve gradually whereas the Armaid1’s arms pinch suddenly

just below the handles. Other distinctions among the three designs include (1) the

connection between the hinge apparatus and the arm, particularly between the D’155

patent and the Armaid2; (2) the number of adjustment slots in the hinge apparatus;

and (3) the shape of the roller cutouts. And, as noted above, some of the changes

between the D’155 and the Armaid1 resulted from the fact that the D’155 patent was

developed to be used on the entire body, not just the arms.

                    (ii)   Functional vs. Ornamental Analysis

      “[D]istinguishing between those features of the claimed design that are

ornamental and those that are purely functional” can be particularly helpful to the

trier-of-fact because the scope of a design patent is limited to the ornamental aspects

of a design. Egyptian Goddess, 543 F.3d at 680. “[W]hile it may be appropriate to

note particular functional features of a design, it is improper to wholly exclude

structural elements of a design patent claim simply because they have functional

aspects. Instead, the Court should consider the manner in which the functional

features of the design patent ‘contribute to the overall ornamentation of the design.’”

Lifted Ltd., 2020 WL 2747814, at *2 (citation omitted) (quoting Sport Dimension, 820
                                          18




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F.3d at 1323). Determining if a particular design choice is driven by function involves

several related inquiries, namely:

      whether the protected design represents the best design; whether
      alternative designs would adversely affect the utility of the specified
      article; whether there are any concomitant utility patents; whether the
      advertising touts particular features of the design as having specific
      utility; and whether there are any elements in the design or an overall
      appearance clearly not dictated by function.

Sport Dimension, 820 F.3d at 1322 (quoting PHG Techs., LLC v. St. John Cos., Inc.,

496 F.3d 1361, 1366 (Fed. Cir. 2006)).

      Considering these factors, it is evident that many, but not all, of the design

features in the D’155 patent—which the Rolflex embodied—are driven by function.

This finding accords with my conclusions in Range of Motion I, 2021 WL 3476607, at

*5-6, which, although not binding, are informative because the factual record before

me is essentially the same as it was in that case. And like in Range of Motion I, my

conclusions are based primarily on a concomitant utility patent, Cross’s affidavit, and

Rolflex marketing materials. See id.

      The ’081 Patent. First, the ’081 patent—embodied in the Armaid1, which

ROM concedes is “the only potentially limiting prior art” (ECF No. 46 at 11)—

supports finding that the overall design of the D’155 patent is functional. The ’081

patent’s claims, which define the scope of the protected invention, enumerate the

invention’s component parts and ascribes each with a utilitarian purpose, with nary

a word about ornamentation to indicate either non-functional features or intended

aesthetic function (i.e., visual appeal). ECF No. 43-4 at 5-6. To the extent that the

D’155 patent is the progeny of the ’081 patent, its inheritance is purely functional.


                                          19




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      The Cross Affidavit. The summary judgment record includes Terry Cross’s

affidavit [ECF No. 43-1], which also sheds light on which features of the D’155 patent

are driven by functional considerations. Cross explained the primary purpose of the

Rolflex, which embodied the D’155 patent, was to allow users to massage their entire

body, whereas the Rolflex’s precursor, the Armaid1, massaged the arms only. Several

of the changes from the Armaid1 were functional and designed to enable this broader

application, namely: (1) the overall clamshell appearance of the arms, including an

increased curve of the therapy arm; (2) the inverted mushroom base; (3) the open slot

at the end of the hinge apparatus, which permits the therapy arm to be removed for

use as a separate tool; and (4) the oval connector pivot molded into the end of the

therapy arm.

      Rolflex Marketing Material. Finally, ROM’s marketing of the Rolflex is also

relevant evidence in considering the nature of the design features in the D’155 patent.

The description of the Rolflex on ROM’s website emphasizes the product’s utilitarian

features and the ability to use it on multiple parts of the body. For instance, the

website highlights (1) how the “clam-shaped roller arms provide significant leverage,”

(2) how the Rolflex’s “ergonomic design enables the user to effectively self-massage

over nearly every muscle of the body,” and (3) how the Rolflex’s “compact design . . .

makes it convenient to take and use anywhere.” ECF No. 43-10 at 8. ROM’s website

does not mention the ornamental aspects of the Rolflex at all.

      Taking these facts together, it is evident that many of the Rolflex’s individual

features have a functional purpose and, thus, are beyond the scope of the claim in the

D’155 patent. In reaching this conclusion, I do not wholly exclude functional features,
                                          20




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but I consider instead how those features contribute to the overall ornamentation.

See Sport Dimension, 820 F.3d at 1322-23. To be sure, some features of the D’155

patent appear to be largely ornamental, including the hollowness and length of the

handles, the thick ridged outline, the precise shape of the connector pivot, and the

shape of the portion of the device where the hinge apparatus attaches to the fixed

arm.    But given the “design’s many functional elements and its minimal

ornamentation, the overall . . . scope of the claim is accordingly narrow.” Id.; see also

Ethicon Endo-Surgery, 796 F.3d at 1334.

       ROM’s arguments to the contrary are unpersuasive. At certain points during

this litigation, ROM has contended that all features depicted with solid lines in the

D’155 patent are necessarily ornamental because they were not disclaimed from the

design, as are features drawn with dashed lines.          It is unclear whether ROM

maintains this position, which, in any event, is unconvincing. The Federal Circuit

has repeatedly emphasized that it may be helpful to discuss which features of a

design patent are driven by functional considerations. See Egyptian Goddess, 543

F.3d at 680. That discussion would be pointless and, indeed, impossible if every

feature depicted in solid lines in design patents were per se ornamental.

       ROM also argues that “the evidentiary questions concerning the scope of the

prior art compared to the claimed design and whether the D’155 Patent’s claim is

primarily functional or ornamental are material questions of fact” that must be

resolved in its favor at the summary judgment stage. ECF No. 46 at 11. I disagree.

Although claim construction has “evidentiary underpinnings,” how to construe a

claim is a question of law within the exclusive province of the court. Markman, 517
                                           21




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U.S. at 386, 388-90; see also Teva Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318,

326-27 (2015).      ROM’s argument is, therefore, unavailing.                Moreover, ROM has

produced few—if any—facts that aid my analysis of which design features are

functional. Instead, ROM relies largely on (1) the illustrations in the D’155 patent,

which alone are insufficient to determine whether design features are principally

functional or ornamental; and (2) the Stahl declarations, which barely address

feature functionality.

       Additionally, ROM seems to argue that a comparison with the prior art—the

Armaid1—shows that there was a feasible alternative design for the Rolflex. 10 ROM

does not develop any argument as to other alternative designs that could have

achieved the same function (contrary to its approach in Range of Motion I). But the

Cross affidavit explains that many of the changes to the Armaid1 reflected in the

D’155 patent (and the Rolflex embodying it) were driven by functional considerations

and the desire to make a massaging apparatus that could be used on different parts

of the body. Thus, I find unavailing ROM’s argument that, because the Armaid1 was

an alternative design for the Rolflex, much of the design is entirely ornamental.




  10 ROM primarily argues that the Armaid1 provides a reasonable alternative design for the accused

product—the Armaid2—and only mentions perfunctorily that the Armaid1 could provide a reasonable
alternative design for the Rolflex/D’155 patent. But the latter question is what I must focus on during
my claim construction because I am called on to construe the claims in the D’155 patent, not the
Armaid2, and to determine whether the design features of the D’155 patent were based on function.
See Sport Dimension, 820 F.3d at 1322 (considering whether there were reasonable alternative designs
for the design patent being construed to determine whether the design features were primarily
functional); see also Lifted Ltd., 2020 WL 2747814, at *4 (same). ROM’s focus on whether there were
reasonable alternative designs for the Armaid2 is, therefore, misplaced.

                                                  22




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      (2) Infringement

             (a) Legal Standard

      “A design patent is infringed ‘[i]f, in the eye of an ordinary observer, giving

such attention as a purchaser usually gives, two designs are substantially the same,

if the resemblance is such as to deceive such an observer, inducing him to purchase

one supposing it to be the other.’” Ethicon Endo-Surgery, 796 F.3d at 1335 (alteration

in original) (quoting Egyptian Goddess, 543 F.3d at 670). This assessment must be

made “in the context of the claimed design as a whole, and not in the context of

separate elements in isolation.” Id.      In other words, when “the claimed design

includes several elements, the fact finder must apply the ordinary observer test by

comparing similarities in overall designs, not similarities of ornamental features in

isolation.” Id. “An element-by-element comparison, untethered from application of

the ordinary observer inquiry to the overall design, is procedural error.” Id. “[M]inor

differences between a patented design and an accused article’s design cannot, and

shall not, prevent a finding of infringement.” Crocs, Inc. v. Int’l Trade Comm’n, 598

F.3d 1294, 1303 (Fed. Cir. 2010) (alteration in original) (quoting Payless Shoesource

v. Reebok Int’l Ltd., 998 F.3d 985, 991 (Fed. Cir. 1993)).

       The ordinary-observer test comprises two steps. “First, ‘where the claimed

and accused designs are “sufficiently distinct” and “plainly dissimilar,” the patentee

does not meet its burden of proving infringement’ and the Court need not resort to an

analysis of the prior art.” Lanard Toys I, 2019 WL 1304290, at *15 (quoting High

Point Design LLC v. Buyer’s Direct, Inc., 621 Fed. App’x 632, 641 (Fed. Cir. 2015)).

Second, “‘[i]f the claimed and accused designs are not plainly dissimilar,’ then the
                                           23




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analysis proceeds to the second stage to compare ‘the claimed and accused designs

with prior art to identify differences that are not noticeable in the abstract but would

be significant to the hypothetical ordinary observer familiar with the prior art.’” Id.

(quoting Ethicon Endo-Surgery, 796 F.3d at 1335).

      With respect to the second step, which involves comparison with the prior art,

the Federal Circuit has explained:

      [T]he ordinary observer is deemed to view the differences between the
      patented design and the accused product in the context of the prior art.
      When the differences between the claimed and accused design are
      viewed in light of the prior art, the attention of the hypothetical ordinary
      observer will be drawn to those aspects of the claimed design that differ
      from the prior art. And when the claimed design is close to the prior art
      designs, small differences between the accused design and the claimed
      design are likely to be important to the eye of the hypothetical ordinary
      observer.

Lanard Toys II, 958 F.3d at 1344 (quoting Egyptian Goddess, 543 F.3d at 676).

      In conducting the ordinary-observer test, a court considers only the

ornamental features of the design, including the ornamental aspects of functional

features, but not the functional aspects of the design. See Ethicon Endo-Surgery, 796

F.3d at 1336 (“[B]ecause each of these components has a functional aspect, the

underlying elements must be excluded from the scope of the design claims at this

general conceptual level.”); Amini Innovation Corp. v. Anthony Cal., Inc., 439 F.3d

1365, 1372 (Fed. Cir. 2006) (“The trial court is correct to factor out the functional

aspects of various design elements, but that discounting of functional elements must

not convert the overall infringement test to an element-by-element comparison.”); see

also OddzOn Prods., 122 F.3d at 1405 (“If . . . a design contains both functional and

ornamental features, the patentee must show that the perceived similarity is based
                                          24




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on the ornamental features of the design.”). The proper way to analyze this is with a

“side-by-side” comparison of the accused design and the allegedly infringed patent.

See, e.g., Crocs, 598 F.3d at 1304.

      Finally, the fact that the parties or experts disagree about whether a

reasonable jury could conclude that the designs are substantially similar does not

preclude entry of summary judgment. See Lanard Toys I, 2019 WL 1304290, at *15

(“‘[E]xpert testimony cannot create a material issue of fact, where [a] visual

comparison reveals that the alleged infringing [design] is not substantially similar to

the [patented] design.’” (alterations in original) (quoting Dyson, Inc. v. SharkNinja

Operating LLC, No. 14-cv-779, 2018 WL 1906105, at *8 (N.D. Ill. Mar. 29, 2018)).

             (b) Application

      To determine whether the designs are substantially similar, I compare the

D’155 patent and the Armaid2 side-by-side. See Crocs, 598 F.3d at 1304.




            Image 14 - Side-by-side comparison of the D’155 Patent and the Armaid2.


                                              25




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       The D’155 patent and the Armaid2 share a “broad design concept” and “at a

conceptual level they look quite similar.” 2019 WL 1304290, at *15. But the rub for

ROM is that most of the Armaid2’s similarities to the D’155 patent are likenesses to

the latter’s functional features. These functional features are not protected by the

D’155 patent and, therefore, do not bear on the ordinary-observer test. See Lanard

Toys II, 958 F.3d at 1343. Accordingly, without converting the infringement analysis

to an element-by-element comparison, I consider the functional features of the D’155

patent only to the extent that they contribute to the overall ornamentation. See id.;

Amini Innovation Corp., 439 F.3d at 1372. Looking at the overall visual impression

created by the D’155 patent and the Armaid2, I conclude that they are not

substantially similar, and are, in fact, plainly dissimilar.

       When viewing the D’155 patent and the Armaid2 side-by-side, certain features

stand out. In the D’155 patent, the hinge apparatus naturally flows into the fixed

arm and would not be the ordinary observer’s primary focus; instead, the fixed arm

is the most noticeable feature. In contrast, the semi-rectangular hinge apparatus of

the Armaid2 makes up proportionally more of the device and forms the entire base of

the product, separated from the arm by a horizontal raised edge. The separation of

the hinge apparatus contributes to the overall segmented appearance of the

Armaid2—a difference reinforced by the presence of raised interior partitions in the

clamshell arms present in the Armaid2 but absent in the D’155 patent. 11 Further,

the size-selection slots in the Armaid2 are larger, both on their own and in proportion


 11 Although the clamshell arms themselves are functional, I must consider their ornamental aspects

and the way they contribute to the overall design. See Sport Dimension, 820 F.3d at 1323.

                                                26




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to the product as a whole. And the blunter, less rounded end of the hinge apparatus

in the Armaid2 also draws the eye more than the subtler, rounder curves of the hinge

apparatus in the D’155 patent. These features contribute to the “stylized impression”

conveyed by the Armaid2, as I described in Range of Motion I, in contrast to the

“robust and workmanlike” impression conveyed by the D’155 patent. 2021 WL

3476607, at *9. In sum, I find that the ornamental aspects of the two designs are

plainly dissimilar, such that ROM cannot show patent infringement as a matter of

law. See Ethicon Endo-Surgery, 796 F.3d at 1335-36.

      Even if I were to reach a comparison with the prior art—which I need not do

given the plain dissimilarity present here, see id. at 1337—the prior art further

supports concluding that the designs of the D’155 patent and the Armaid2 are not

substantially similar. The only relevant art acknowledged by the parties is the

Armaid1. Accordingly, I focus on the differences among the Armaid1, the D’155

patent, and the Armaid2.      See Lanard Toys II, 958 F.3d at 1344 (“When the

differences between the claimed and accused design are viewed in light of the prior

art, the attention of the hypothetical ordinary observer will be drawn to those aspects

of the claimed design that differ from the prior art.” (quoting Egyptian Goddess, 543

F.3d at 676)); see also ABC Corp. I v. P’ship & Unincorporated Assocs. Identified on

Schedule “A”, 52 F.4th 934, 942 (Fed. Cir. 2022) (“Where a patented design and

accused design are not ‘plainly dissimilar,’ the court must conduct a three[-]way

analysis comparing the accused product, the patented design, and the prior art.”

(quoting Egyptian Goddess, 543 F.3d at 678)).



                                          27




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      Factoring out the functional aspects of the bases (which are notably different

in any event), the most salient differences between the Armaid1 and the Armaid2 are

the shape of the arms and the manner in which the fixed arm connects to the hinge

apparatus. With respect to arm shape, there are notable differences among the areas

just below the cylindrical handlebars in all three images (though the difference is

slighter between the D’155 patent and the Armaid2). But again, the hinge apparatus

of the Armaid2 differs from the hinge apparatuses depicted in the D’155 patent and

of the Armaid1, the latter two being quite similar to each other. Based on that holistic

analysis, rather than a piecemeal, feature-by-feature comparison, I conclude that the

D’155 patent and the Armaid2 are plainly dissimilar or, at the least, not substantially

similar.




           Image 15 - Side-by-side comparison of D’155 Patent, the Armaid2, and the Armaid1.


      ROM’s arguments to the contrary are inapposite. ROM repeatedly emphasizes

the substantial differences among the claimed design, the accused product, and the

prior art, such that I should construe the claims of the D’155 patent “extraordinarily
                                                 28




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broadly” and conclude that the D’155 patent and the Armaid2 are substantially

similar. ECF No. 46 at 12. But I need not reach the prior art in light of my conclusion

that the ornamental aspects of the design depicted in the D’155 patent and of the

Armaid2 are plainly dissimilar. See Ethicon Endo-Surgery, 796 F.3d at 1337. And

although there is less prior art here than there was in Lanard Toys I, it is sufficient

to employ that court’s frame-of-reference approach—which supports concluding that

the D’155 patent and the Armaid2 are not substantially similar.

      Finally, although there is a genuine dispute as to whether Cross developed the

Armaid2 based on the Armaid1 or the Rolflex, it is immaterial to the ultimate

question I resolve in this case.           A dispute is material if it can be

outcome-determinative. See Vineberg v. Bissonnette, 548 F.3d 50, 56 (1st Cir. 2008).

But the linchpin of a design patent infringement claim is whether, when two products

are viewed side-by-side, “an ordinary observer, familiar with the prior art, would be

deceived into believing that the accused product is the same as the patented design.”

Crocs, 598 F.3d at 1306. Which product Cross may have used as his starting point

for the Armaid2 does not bear on this inquiry such that the parties dispute over the

Armaid2’s inspiration, however sincere, does not preclude entry of summary

judgment.

      Based on the undisputed material facts, Armaid is entitled to summary

judgment on ROM’s infringement claim because no reasonable jury could find that

the design of the Armaid2 is substantially similar to the very narrow design claimed

in the D’155 patent. See TechSearch, 286 F.3d at 1369.



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                             III. CONCLUSION

      For the foregoing reasons, Armaid’s Motion for Summary Judgment (ECF No.

42) is GRANTED.



      SO ORDERED.

      Dated this the 28th day of August, 2023.



                                                  /s/ JON D. LEVY
                                             CHIEF U.S. DISTRICT JUDGE




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                       Appx45
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                              UNITED STATE DISTRICT COURT
                                   DISTRICT OF MAINE

RANGE OF MOTION PRODUCTS LLC,                         )
                                                      )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )       No. 1:22-cv-00091-JDL
                                                      )
                                                      )
THE ARMAID COMPANY INC.,                              )
                                                      )
       Defendant.                                     )


                              Plaintiff’s Infringement Contentions

       Pursuant to the Amended Scheduling Order (ECF No. 33), Plaintiff, Range of Motion

Products LLC, (“RoM”) hereby serves the Defendant, The Armaid Company Inc., with the

following Infringement Contentions.

       RoM asserts that Defendant is infringing RoM’s Design Patent No. D802,155, which

claims the design for a body massaging apparatus (the “D’155 Patent”). A true and accurate copy

of the D’155 Patent is attached hereto as Exhibit 1. Defendant is infringing the D’155 Patent by

marketing and selling the Armaid 2 massage device on its website (the “Armaid 2”). See 35 U.S.C.

§271(a)(prohibiting the unauthorized offer for sale or sale of patented products). A claim chart

comparing exemplary drawings from the D’155 Patent to the design for the Armaid 2 is attached

hereto as Exhibit 2.

       “Determining whether a design patent has been infringed is a two-part test: (1) the court first

construes the claim to determine its meaning and scope; (2) the fact finder then compares the properly

construed claim to the accused design.” Lanard Toys Limited v. Dolgencorp LLC, 958 F.3d 1337, 1341

(Fed. Cir. 2020). Design patents are typically claimed as shown in the drawings; however, since

design patents only protect the ornamental features (i.e., the appearance) of a product, the Court

                                                  1



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may find it necessary to “distinguish between those features of the claimed design that are

ornamental and those that are purely functional.” Lanard Toys, 958 F.3d at 1342. This issue is

properly resolved during claim construction. See Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d

665, 679 (Fed. Cir. 2008)(en banc); Arminak & Assocs., Inc. v. Saint-Gobain Calmar, Inc., 501 F.3d

1314, 1319 (Fed. Cir. 2007); L.A. Gear, Inc., v. Thom McAn Shoe Co., 968, F.2d 1117, 1123 (Fed.

Cir. 1993).

         When comparing the patented and accused device’s design, the accused device’s design

should be found infringing if “in the eye of an ordinary observer, giving such attention as a purchaser

usually gives, [the] two designs are substantially the same,” meaning “the resemblance [between the

accused device’s design and the design patent is likely to] deceive such an observer, inducing him to

purchase one supposing it to be the other.” Egyptian Goddess, 543 F.3d at 670. RoM asserts that the

properly construed claim of the D’155 Patent is the overall appearance of the body massaging

apparatus shown in Figures 1-8 thereof. Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312,

1335 (Fed. Cir. 2015)(stating that the “ordinary observer” test for infringement of a design patent

requires the Court, acting as the finder of fact, to “compare similarities in overall designs, not

similarities of ornamental features in isolation”). The only features that should be excluded from the

scope of design patent coverage here are the roller attachments drawn in dashed lines, as these

have been explicitly disclaimed by the description of the D’155 Patent.

       When comparing this properly construed design patent claim to the design for the Armaid

2, as shown in Exhibit 2, it is apparent that the Armaid 2 infringes the D’155 Patent because their

overall designs are similar enough to deceive consumers into purchasing the Armaid 2 believing

it to have the product design illustrated in Figures 1-8 of the D'155 Patent. As a supplement to

RoM’s claim chart, the following is a comparison of a side view illustrated in Figure 3 of the D’155

Patent overlaying an image of the Armaid 2:

                                                  2



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       Without reducing the “ordinary observer” test to an element-by-element comparison, it is

particularly striking that a majority of the design for the Armaid 2 is either identical or practically

identical to the design claimed in the D’155 Patent. Particularly, the exact shape of the arms, the

ridged texture on the top of the arms, and the notches on the base for both designs have the exact

same overall appearance. The only real differences between the two designs are that the Armaid 2

has five notches instead of the six notches claimed in the D’155 Patent and that the silicone or

rubber base at the very bottom of the Armaid 2 is concave instead of convex. These are

insubstantial differences to the eye of the ordinary observer.


                                                  3



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       Thus, these designs are substantially similar, and RoM asserts that Defendant is infringing

the D’155 Patent through its marketing and sale of the Armaid 2.



                                                            Respectfully submitted,

                                                            Attorneys for Plaintiff
                                                            Range of Motion, LLC

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                               CERTIFICATE OF SERVICE

       I, Brendan M. Shortell, certify that a true and accurate copy of the foregoing document

was filed through the Court’s ECF system on November 18, 2022.




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      D’155 Patent                             Armaid 2




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            
                                                                   




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




                               Appx52
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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

RANGE OF MOTION PRODUCTS LLC,                      )
                                                   )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )      No. 1:22-cv-00091-JDL
                                                   )
                                                   )
THE ARMAID COMPANY INC.,                           )
                                                   )
       Defendant.                                  )



               Joint List of Proposed Claim Constructions and Citations to Evidence

       Pursuant to the Amended Scheduling Order (ECF No. 33) Plaintiff, Range of Motion

Products LLC (“RoM”), and Defendant, The Armaid Company Inc. (“Armaid”), hereby submit

their joint statement of proposed claim constructions and evidentiary citations supporting said

constructions for United States Patent No. D802,155 S (“D’155 Patent”).




                                              1



                                        Appx53
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                                Proposed Claim Constructions For The D’155 Patent
   RoM’s                RoM’s                  RoM’s                 Armaid’s          Armaid’s              Armaid’s
 Construction         Supporting              Rebuttal              Construction      Supporting             Rebuttal
                       Evidence               Evidence                                 Evidence              Evidence

The ornamental     x D’155 Patent        x   See RoM’s              Proposed          D’155          “The ornamental design for
   design for a      (Ex. 1)                 Supporting             construction:     Patent (Ex.    a body massaging
body massaging                                Evidence.                               1), Claim;     apparatus, as shown in
  apparatus, as    x Armaid1 (Ex. 2)     x RoM’s proposed           Plain meaning.    Description;   Figs. 1-8…”
 shown in Figs.                              construction is                          Figs. 1-8.
 1-8, excluding    x Ex. 1, 1: “The          consistent with        Objections to                    This statement is
     only the        ornamental                    RoM’s            RoM’s                            incomplete. See D’155
     material        design for a body         infringement         proposed                         Patent, Claim (“The
   depicted in       massaging              contentions. See        construction:                    ornamental design for a
  dashed lines.      apparatus, as           ECF 43-14 at 2.                                         body massaging apparatus,
  The material       shown and            x RoM may need            RoM’s                            as shown and described.”).
   depicted in       described.”            to rely on expert       proposed
  solid lines is     (emphasis              testimony on the        construction is                  “excluding only the
ornamental and       added).                limited question        inconsistent                     material depicted in dashed
 not dictated by                                    of the          with RoM’s                       lines:”
 the function of   x Ex. 1, 1: “Dashed        availability of       infringement
     the body        lines indicate              alternative        contentions.                     The intrinsic evidence does
   massaging         material                designs for the        See ECF 43-14                    not support the assertion
    apparatus.       disclaimed from          D’155 Patent.         at 2.                            that only the material in
                     the invention and          This expert                                          dashed lines is excluded
                     are for purposes       testimony would         RoM did not                      from the claim. See D’155
                     of illustration               only be          timely disclose                  Patent, Description
                     only.”                     necessary if        any expert, and                  (“Dashed lines indicate
                                             Armaid claims          so may not rely                  material disclaimed from
                   x Compare Exs. 1              the D’155          on expert                        the invention and are for
                     and 2:                Patent’s design is       testimony. See                   purposes of illustration
                                                  primarily         ECF 14 at 2.                     only.”).
                     The Armaid1 is           functional. In
                     both prior art            other words,         RoM did not                      The extrinsic evidence
                     providing               RoM would not          timely serve                     does not support this
                     boundaries for           be relying on         evidence in                      assertion. See ECF 43 ¶¶ 1-
                     the scope of the       expert testimony        support of its                   38, ECF 43-1 to 43-15.
                     present claim and        to advance its        construction on
                     evidence of           own position, but        Armaid, see                      “the material depicted in
                     possible               rather to counter       ECF 33 at 1,                     solid lines is ornamental
                     alternative                   specific         and so may not                   and not dictated by the
                     designs for              assertions that       rely on                          function of the body
                     certain features          Armaid may           evidence not                     massaging apparatus:”
                     shown in the              make during          timely
                     D’155 Patent.                  claim           identified.                      The intrinsic evidence does
                                               construction.                                         not support this statement.

                                                                2



                                                       Appx54
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  RoM’s           RoM’s              RoM’s                 Armaid’s          Armaid’s            Armaid’s
Construction    Supporting          Rebuttal              Construction      Supporting           Rebuttal
                 Evidence           Evidence                                 Evidence            Evidence

                               x RoM’s evidence           RoM’s                          See D’155 Patent, Claim;
                                  in support of its       proposed                       Description; figs. 1-8.
                                   construction is        construction
                                 only the intrinsic       improperly                     The extrinsic evidence
                                  evidence found          introduces a                   does not support this
                                     in the D’155         conclusion of                  statement. See ECF 43
                                   Patent and the         law regarding                  ¶¶ 1-38, ECF 43-1 to 43-
                                  prior art design        the validity of                15.
                                  of the Armaid1,         the claim of
                                    both of which         the D’155
                                     were readily         Patent into its
                                      available to        construction.
                                   Armaid before
                                  exchange of the
                                    parties’ claim
                                     construction
                                       positions.
                               x To the extent that
                                         Armaid
                                   maintains that
                                       the design
                                   claimed in the
                                  D’155 Patent is
                                        primarily
                                 functional, RoM
                                   maintains that
                                   “[t]he material
                                 depicted in solid
                                         lines is
                                  ornamental and
                                   not dictated by
                                   the function of
                                        the body
                                      massaging
                                      apparatus.”




                                                      3



                                             Appx55
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                                                  Respectfully submitted,
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                                                  Range of Motion, LLC

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                                 Appx56
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                               CERTIFICATE OF SERVICE
       I, Brendan M. Shortell, certify that a true and accurate copy of the foregoing document

was filed through the Court’s ECF system on January 31, 2023.

                                            /s/ Brendan M. Shortell
                                            Brendan M. Shortell




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                         CERTIFICATE OF SERVICE

      I hereby certify that on 'HFHPEHU, 2023, I electronically filed the foregoing

&RUUHFWHG Brief of the Plaintiff-Appellant with the United States Court of

Appeals for the Federal Circuit by using the CM/ECF system. I certify that

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          Case: 23-2427     Document: 19     Page: 107    Filed: 12/22/2023




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the type-volume limitation of

Fed. R. App. P. 32(a)(7)(B) because: (1) this brief contains 8,902 words; and (2) this

brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and the

type style requirements of Fed. R. App. P. 32(a)(6) because this brief has been

prepared in 14 point proportionally spaced Times New Roman font.

                                                    /s/ Brendan M. Shortell
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